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                         EXHIBIT 2
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                                                      U.S. Department of Justice

                                                      Civil Rights Division


  Office ofthe Assistant Attorney General             Washington, D.C. 20530


                                                      April 11, 2025

 VIA email to: ie1111ifer oco1mo1@}1arvan/.edu

 Harvard University
 677 Huntington Ave.
 Boston, MA 02115
        c/o Jennifer O'Conner, Esq.
        Vice President and General Counsel
        617-495-1280

 Dear Ms. O'Conner:

         This is to inform you that the United States Department of Justice is commencing a
 compliance review investigation of Harvard University pursuant to Title VI of the Civil Rights Act
 of 1964, 42 U.S.C. § 2000d et seq. Title VI prohibits a recipient of federal financial assistance
 from discriminating on the basis of race, color, or national origin. 42 U.S.C. § 2000d. As you
 know, Harvard University currently receives federal financial assistance from the Department of
 Justice and other federal government sources and accordingly must abide by Title Vi's anti-
 discrimination requirements. At this time, our investigation will focus on possible race
 discrimination in medical school admissions at Harvard University.

        In conducting the compliance investigation, we will seek to determine whether Harvard
University is violating Title VI. We have not reached any conclusions about the subject matter of
the investigation. If we conclude that Barvard University is not violating Title VI, we will notify
you that we are closing the investigation. 28 C.F.R. § 42.107. If we conclude that Harvard
University is violating Title VI, we will inform you and work with you to secure compliance by
informal voluntary means. 28 C.F.R. §§ 42.107 & 42.108. lfwe cannot secure compliance by
voluntary means, we may take formal action to secure compliance, which could include
suspending, terminating, or refusing to grant or continue your federal financial assistance, as well
as commencing a civil action. 28 C.F.R. § 42.108.

         We expect Harvard University to cooperate fully with this compliance investigation. The
 Department's Title VI implementing regulations require, among other obligations, that recipients of
 federal financial assistance permit access by the Department to sources of information and facilities
 as may be pertinent to ascertain compliance with Title VI and the implementing regulations. 28
•C.F.R. §§ 42.106 & 42.108. These Title VI implementing regulations also require that every
 application for federal financial assistance be accompanied by an assurance that the program will
 be conducted in compliance with all requirements that Title VI and the implementing regulations
 impose. 28 C.F.R. § 42.105(a)(l). Pursuant to this requirement, Harvard University signed
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contractual assurances agreeing to permit the Department to examine records and access other
sources of information and facilities.

         Pursuant to this authority, we request any and all documents guiding medical school
admissions policies and procedures, including any documents related to the use or lack of use of
race in evaluating applicants. We also request all documents regarding any changes in policies or
procedures following the decision in Students for Fair Admissions, Inc. v. President & Fellows of
Harvard Coll., 600 U.S. 181,206 (2023), which found certain race-based admissions policies
unlawful under Title VI and the Equal Protection Clause. We also request all admissions data for
the past five academic years, including applicant test scores (MCA T), GPA, extracurricular
activities, essays, and admission outcomes, disaggregated by race and ethnicity. Finally, we request
any statistical analyses or internal reviews conducted by Harvard University regarding admissions
trends or outcomes by race.

         Please provide all responsive documents in an accessible electronic format (such as
searchable PDF, Microsoft Word, or Excel) that preserves metadata and allows for efficient review.
If electronic versions are available, we prefer these over paper copies to expedite the review
process. If certain documents are only available in physical form, please indicate this in your
response.

       Please send the requested information by April 25, 2025. If you anticipate challenges
meeting this deadline, contact us by April 21, 2025, to discuss a reasonable extension. If you have
any questions as to formatting or concerns with the deadline, please contact us.

        We recognize that some of the requested materials may contain student information
protected under the Family Educational Rights and Privacy Act (FERPA), 20 U.S.C. § 1232g.
Please be advised that the Department of Justice is authorized under 34 C.F.R. § 99.3 l(a)(3)(ii) to
obtain such information without prior consent for the purpose of enforcing federal legal
requirements, including Title VI. Any information disclosed pursuant to this request will be used
solely for compliance review purposes and maintained in accordance with applicable federal
confidentiality requirements.

      If you have any questions about this letter, please contact this office at (202) 514-2151.
Thank you in advance for your attention to and cooperation in this compliance investigation.




                                                     Assistant Attorney General
                                                     Civil Rights Division
